Case 8:24-cv-00925-DLB Document1-5 Filed 03/29/24

Generated: Mar 29, 2024 9:29AM

Oheneba Kwame Gyamfi
905 Jackson Valley Ct
Bowie, MD 20721

Rcpt. No: 1860

CD Purpose

U.S. District Court

Maryland - Greenbelt

Trans. Date: Mar 29, 2024 9:29AM

Case/Party/Defendant Qty

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Receipt Date: Mar 29, 2024 9:29AM

Cashier ID: #AH

Price Amt

OOOO OOOH ee OHO E OE DEO LH DOE ET ODE LOO HO EHD OSE EEL OO EEE DOLE COD EDL ODEON DDH EO ODE HOOD OEDO OD DOO DS OOO STSHOODESEESE CHOSTTESSTODSESUOEEE HSCS DD ATESEDOEDEDEESDD FODTEHDOESH DIG RAODIOED

*201B Civil Filing Fee/PLRA-PIF/Non-IFP

CD Tender

1

cc Credit Card

Comments: 24CV0925

Total Due Prior to Payment:
Total Tendered:
Total Cash Received:

Cash Change Amount:

A $53 fee will be charged for NSF checks. Criminal Debt Payments can be made on-line at
https://www. pay.gov/public/form/start/741690530. Payment must be made by money order, check, or debit card only. For questions call

410-962-2613.
